




NO. 07-09-0215-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JULY 22, 2009

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IN THE INTEREST OF R.L.H. AND J.A.H., CHILDREN

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FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2008-541,943; HONORABLE JIM B. DARNELL, JUDGE

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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

MEMORANDUM OPINION

By letter dated July 1, 2009, this Court directed appellant to pay the required filing fee of $175 within ten days. The Court noted that failure to do so might result in dismissal pursuant to Rule 42.3(c) of the Texas Rules of Appellate Procedure. 

Unless a party is excused from paying a filing fee, the Clerk of this Court is required to collect filing fees set by statute or the Supreme Court when an item is presented for filing. See Tex. R. App. P. 5 and 12.1(b). Although the filing of a notice of appeal invokes this Court's jurisdiction, if a party fails to follow the prescribed rules of appellate procedure, the appeal may be dismissed. Tex. R. App. P. 25.1(b). Consequently, because the filing fee remains unpaid, we must dismiss the appeal.



Accordingly, the appeal is dismissed for failure to comply with (1) a requirement of the Texas Rules of Appellate Procedure and (2) a notice from the Clerk requiring payment of the filing fee within a specified time. Tex. R. App. P. 42.3(c). 



Per Curiam






